                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

IN RE:

ACADIANA MANAGEMENT GROUP, L.L.C., ET AL.1                                  CASE NO. 17-50799

                 DEBTORS                                                    CHAPTER 11


                               BALLOT SUMMARY
                     FOURTH AMENDED PLAN OF REORGANIZATION


Class 3 - Secured Claims

        Number of Votes Cast: 1           Amounts held by Voting Creditors: $11,499,372.00
        Acceptances: 1                    Rejections: none

        This class accepts the plan.


Class 5A - Secured Claims

        Number of Votes Cast: 1           Amounts held by Voting Creditors: $10,698,149.97
        Acceptances: 1                    Rejections: none

        This class accepts the plan.


Class 5B - Secured Claims

        Number of Votes Cast: 1           Amounts held by Voting Creditors: 14,750,000.00
        Acceptances: 0                    Rejections: 1

        This class rejects the plan.



        1
           AMG Hospital Company, L.L.C., Case No. 17-50800; AMG Hospital Company II, L.L.C., Case No. 17-
50801; Albuquerque - AMG Specialty Hospital, L.L.C., Case No. 17-50802; Central Indiana - AMG Specialty
Hospital, L.L.C., Case No. 17-50803; Tulsa - AMG Specialty Hospital, L.L.C., Case No. 17-50804; LTAC Hospital
of Louisiana - Denham Springs, L.L.C., Case No. 17-50805; Las Vegas - AMG Specialty Hospital, L.L.C., Case No.
17-50806; LTAC Hospital of Greenwood, L.L.C., Case No. 17-50807; LTAC of Louisiana, L.L.C., Case No. 17-
50808; Houma - AMG Specialty Hospital, L.L.C., Case No. 17-50809; LTAC Hospital of Edmond, L.L.C., Case
No. 17-50810; LTAC Hospital of Wichita, L.L.C., Case No. 17-50811; AMG Realty I, L.L.C., Case No. 17-50812;
CHFG Albuquerque, L.L.C., Case No. 17-50813; and AMG Realty Youngsville, L.L.C., Case No. 17-50814




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Class 8A - Unsecured Claims - Non-Critical Vendors

      Number of Votes Cast: 39   Amounts held by Voting Creditors: $14,459,039.80
      Acceptances: 12 / $705,662.82   Rejections: 27 / $13,753,376.98

      This class rejects the plan.


Class 8B - Unsecured Claims - Critical Vendors

      Number of Votes Cast: 4        Amounts held by Voting Creditors: $207,235.57
      Acceptances: 4                 Rejections: None.

      This class accepts the plan.




                                     Respectfully submitted:

                                     GOLD, WEEMS, BRUSER, SUES & RUNDELL

                                     By:    /s/Bradley L. Drell
                                            Bradley L. Drell (Bar Roll #24387)
                                            Heather M. Mathews (Bar Roll # 29967)
                                            B. Gene Taylor, III (Bar Roll #33407)
                                            P. O. Box 6118
                                            Alexandria, LA 71307-6118
                                            Telephone: (318) 445-6471
                                            Facsimile: (318) 445-6476
                                            e-mail: bdrell@goldweems.com

                                     ATTORNEYS FOR DEBTORS AND DEBTORS
                                     IN POSSESSION: ACADIANA MANAGEMENT
                                     GROUP, L.L.C., ET AL.




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                       ACCEPTANCE OR REJECTION OF THE PLAN

       The undersigned holder of a Class 3 ( ), 4 ( ), 5A ( ), 5B ( ), 6 ( ), 8A ( ) and 8B ( ) Claim in
the unpaid amount of $800 hereby votes to:

              Check one box only [x] ACCEPT THE PLAN [ ] REJECT THE PLAN

Date: 2/9/2018
Signature: _____________________________________________________________________
Print Name: Jerrad Edwards_________________________________________________
Company/Creditor: Eight Hats__________________________________________________
Title (if appropriate): President__________________________________________________
Address: 1304 Bertand Drive, Lafayette LA 70506__________________________________
Telephone: 337-889-0262______________________________________________________



                      VOTING INFORMATION AND INSTRUCTIONS
                           FOR COMPLETING THE BALLOT

1.      The enclosed Ballot is submitted to you to solicit your vote to accept or reject the Debtors’
Fourth Amended Chapter 11 Plan of Reorganization for Acadiana Management Group, LLC, et al.,
dated January 3, 2018 (the “Plan”), which is described in the Immaterially Modified Fourth
Amended Disclosure Statement, dated January 11, 2018 (the “Disclosure Statement”). Please read
the Plan dated January 3, 2018, and the Disclosure Statement carefully before completing the
Ballot.

2.      The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
by the holders of two-thirds in amount and more than one-half in number of claims in each impaired
class of creditors who are entitled to and actually vote on the Plan. If you are a creditor entitled to
vote on the Plan, your vote will be counted in the amount set forth on the Proof of Claim filed by you
or on your behalf or, if no claim has been filed, in the amount scheduled by the Debtors as
undisputed, non-contingent and liquidated. In the event the requisite acceptances are not obtained,
the Court may nevertheless confirm the Plan if the Court finds that the Plan accords fair and
equitable treatment to the class or classes rejecting it and otherwise satisfies the requirements of
§1129(b) of the Bankruptcy Code.

3.     To have your vote counted, you must complete, sign, and deliver the Ballot to Debtors’
counsel on or before February 20, 2018, at 5:00 p.m. CST (“Voting Deadline”), unless such
time is extended by the Court. Ballots sent via facsimile or other electronic means will not be
accepted. Deliveries of Ballots by mail, overnight courier, or hand delivery should be addressed to
Debtors’ counsel as follows:




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                               ____      _________________________________________________
                                                                   _______                    _________________
                                                                                                       ________




                       A(.’CEPTANCE OR RE.JECTLON OF THE PLAN

        The undersigned holder of a Class 3 Q,4     ( ), 5A ( ),   511   Q, 6 ( ),   8A   (   ) and SF1 ( ) Claim in
the unpaid amount of $         0’          hereby votes to:


              Check one box oniy     4   ACCEPT THE PLAN           [J    REJECT TIlE ILAN


Date:        2 -I”-    1u
Signature:
Print Name:
Company/Creditor:
Title(ifappropHate):                                     —.   _...,,




Address:SL\Ur\;r\              SI-   r                                          I”J           U1i.._
Telcphone:__j-°j       21’S’   ‘)lA




                       VOTING INFORMATION AND INSTRUCTIONS
                            FOR COMPLETING TilE BALLOT

        The enclosed Ballot is submitted to you to solicit your vote to accept or reject the DebLors’
Fourth Amended Chapter II Plan of Reorganization for Acadiana Management Group, LLC, et al,,
dated January 3, 2018 (the “Plan”), which is described in the Immaterially Modified Fourth
Amended Disclosure Statement, dated Jauuaiy 11,2018 (the “Disclosure Statement”). Please read
the Plan dated January 3,2018, and the Disclosure Statement carefully before completing the
Ballot.

2.      ‘l’he Plan can be confirmed by the Court and thereby made binding on you if it is accepted
hythe holders of two-thirds in amount and more than one-halfin number of claims in each impaired
class of creditors who are entitled to and actually vote on the Plan. Iiyou are a creditor entitled to
vote on the Plan, your vote will he counted in the amount set forth on the ProofofClairn filed by you
or on your behalf or, if no claim has been filed, in the amount scheduled by the Debtors as
undisputed, non-contingent and liquidated, In the event the requisite acceptances are not obtained,
the (‘ourl may ncvertheless confirm the Plan if the Court finds that the Plan accords Ibir and
equitable treatment to the class or classes rejecting it and otherwise satisies the requirements of
§ 1129(b) of the bankruptcy Code.
3.      To have your vote counted, you must complete, sign, and deliver the Ballot to Debtors’
counsel on or before February 20, 2018, at 5:00 p.m. CS’l’ (“Voting l)eadline”), unless such
time is extended by the Court. Ballots scnt via facsimile or other electronic means will not be
accepted. Deliveries of Ballots by mail, overnight courier, or hand delivery should be addressed to
Debtors’ counsel as follows:




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                                          ACCEPTANCE OR REJECTION OF THE PLAN

                   The undersigned holder o f a Class 3 ( ) , 4 ( ) , 5 A ( ) , 5 B ( ) , 6 ( ) , 8 A                                   and 8 B ( ) C l a i m i n
        the unpaid amount o f                              • ^(f.        hereby votes to:

                             Check one box only [ ] A C C E P T T H E P L A N                               |y^^.


        Date:                                                              _
        S ignaturej                                                                    ^^^"^                           )

        Company/Creditor
        Title ( i f appropriate):
        Address:        ^9Oj^                             j4yy^h^r^            SV^                  S ' / V / e / / C/4                             -V^^VG/
        Telephone:             (^^)            (o^i ^ - ^            / 9^                    (9^)              9&0-O9S0                          ^ g / /




                                           VOTING INFORMATION AND INSTRUCTIONS
                                                FOR COMPLETING THE BALLOT

        1.          T h e e n c l o s e d B a l l o t is s u b m i t t e d t o y o u t o s o l i c i t y o u r v o t e t o accept o r r e j e c t t h e D e b t o r s '
        F o u r t h A m e n d e d C h a p t e r 11 P l a n o f R e o r g a n i z a t i o n f o r A c a d i a n a M a n a g e m e n t G r o u p , L L C , e t a l . ,
        dated January 3 , 2 0 1 8 ( t h e " P l a n " ) , w h i c h i s described i n t h e I m m a t e r i a l l y M o d i f i e d F o u r t h
        A m e n d e d D i s c l o s u r e S t a t e m e n t , d a t e d J a n u a r y 1 1 , 2 0 1 8 ( t h e " D i s c l o s u r e S t a t e m e n t " ) . Please read
        the Plan dated January 3,2018, and the Disclosure Statement carefully before completing the
        Ballot.

        2.             T h e P l a n can be c o n f i r m e d b y the C o u r t and thereby made b i n d i n g o n y o u i f it is accepted
        b y the holders o f t w o - t h i r d s i n a m o u n t and m o r e than o n e - h a l f i n n u m b e r o f claims i n each impaired
        class o f c r e d i t o r s w h o are e n t i t l e d t o a n d a c t u a l l y v o t e o n t h e P l a n . I f y o u are a c r e d i t o r e n t i t l e d t o
        v o t e o n t h e P l a n , y o u r v o t e w i l l b e c o u n t e d i n t h e a m o u n t set f o r t h o n t h e P r o o f o f C l a i m filed b y y o u
        or o n y o u r b e h a l f o r , i f n o c l a i m h a s b e e n filed, i n t h e a m o u n t s c h e d u l e d b y t h e D e b t o r s as
        u n d i s p u t e d , n o n - c o n t i n g e n t a n d l i q u i d a t e d . I n t h e e v e n t t h e r e q u i s i t e acceptances are n o t o b t a i n e d ,
        t h e C o u r t m a y n e v e r t h e l e s s c o n f i r m t h e P l a n i f t h e C o u r t finds t h a t t h e P l a n a c c o r d s f a i r a n d
        e q u i t a b l e t r e a t m e n t t o t h e class o r classes r e j e c t i n g i t a n d o t h e r w i s e satisfies t h e r e q u i r e m e n t s o f
        §1129(b) o f t h e B a n k r u p t c y C o d e .

        3.           To have your vote counted, you must complete, sign, and deliver the Ballot to Debtors'
        counsel on or before Febrnary 20, 2018, at 5:00 p.m. CST ("Voting Deadline"), unless such
        time is extended by the Court. B a l l o t s sent v i a f a c s i m i l e o r o t h e r e l e e t r o n i e m e a n s w i l l n o t h e
        accepted. D e l i v e r i e s o f B a l l o t s b y m a i l , o v e r n i g h t c o u r i e r , o r h a n d d e l i v e r y s h o u l d b e a d d r e s s e d t o
        D e b t o r s ' c o u n s e l as f o l l o w s :




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